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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 SHELIA FRANKLIN, et al.

                  Plaintiffs,
 v.                                                  Civil Action No. PWG 21-cv-1855

 BJ’S WHOLESALE CLUB, INC.

                  Defendant.


                       NOTICE OF DISMISSAL WITHOUT PREJUDICE

        The Plaintiffs, Shelia Franklin, Maria Claros and Sheri Rainge, by their attorneys, James

M. Ray, II and Ray Legal Group, LLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby

dismiss without prejudice all of their claims against Defendant BJ’s Wholesale Club, Inc.

                                                    Respectfully Submitted,

                                                    RAY LEGAL GROUP, LLC

                                              By:      /s/ James M. Ray
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                                                    Attorneys for Plaintiffs



      SO ORDERED on August 19, 2021. The Clerk is
      directed to close this case.

          /S/
      Paul W. Grimm
      United States District Judge
